656 F.2d 108
    108 L.R.R.M. (BNA) 2534
    Paul E. SCOTT, et al., Plaintiffs-Appellees,v.Bill MOORE, et al., Defendants,Laborers International Union of North America, Local # 870,et al., Defendants-Appellants,International Union of Operating Engineers, etc., AFL-CIO,Local 450, Defendant-Appellant.
    No. 79-1196.
    United States Court of Appeals,Fifth Circuit.
    Aug. 31, 1981.
    
      Martin W. Dies, Orange, Tex., William N. Wheat, Paul F. Waldner, Houston, Tex., for defendant-appellant.
      Robert Q. Keith, Arthur R. Almquist, Beaumont, Tex., for plaintiffs-appellees.
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
      (Opinion March 26, 1981, 5 Cir., 1981, 640 F.2d 708).
      Before GODBOLD, Chief Judge, BROWN, AINSWORTH, CHARLES CLARK, RONEY, GEE, TJOFLAT, HILL, FAY, RUBIN, VANCE, KRAVITCH, FRANK M. JOHNSON, Jr., GARZA, HENDERSON, REAVLEY, POLITZ, HATCHETT, ANDERSON, RANDALL, TATE, SAM D. JOHNSON, THOMAS A. CLARK and WILLIAMS, Circuit Judges.
    
    BY THE COURT:
    
      1
      A member of the Court in active service having requested a poll on the application for rehearing en banc and a majority of the judges in active service having voted in favor of granting a rehearing en banc,
    
    
      2
      IT IS ORDERED that the cause shall be reheard by the Court en banc with oral argument on a date hereafter to be fixed.  The Clerk will specify a briefing schedule for the filing of supplemental briefs.
    
    